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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

_______________________X
ANDREA T. PAYNE,
CV Ol 1532
(Korman, J.)
Plaintiff, (Levy, M.J.)
- against - AMENDED ANSWER OF
DEFENDANT EMPLOYING
EMPLOYING OFFICE OF REPRESENTATIVE
REPRESENTATIVE GREGORY W. MEEKS, GREGORY W. MEEKS
Defendant.
______________________X

Defendant Employing Office of Representative Gregory W. Meeks
(“Employing Office”), by its attorneys, ROSLYNN R. MAUSKOPF, United
States Attorney for the Eastern District of New York, Sandra L.
Levy, Assistant United States Attorney, of counsel, and Office of
House Employment Counsel, United States House of Representatives,
Kimberly Carey and Gloria Lett Ferguson, of counsel, hereby answer
the corresponding numbered paragraphs of the Amended Complaint of
Plaintiff Andrea T. Payne (“Payne”) upon information and belief as
follows:

l. Lacks knowledge or information sufficient to form a belief
as to the truth of the allegations in paragraph l.

2. Admits.

35 Admits that defendant Employing Office is the personal
office of Representative Gregory W. Meeks. The remainder of the

allegations in paragraph 3 are a conclusion of law to which no

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response is reguired. To the extent that a response is reguired,
admits the remainder of the allegations in paragraph 3.

4. Defendants admits that jurisdiction is invoked under 28
U.S.C. § l33l, but whether such jurisdiction exists is a conclusion
of law to which no response is reguired. To the extent that a
response is reguired, with respect to the first cause of action,
states that 2 U.S.C. § 1408 is the proper jurisdictional provision.

5. Defendants admits that venue is invoked under 28 U.S.C.
§ l39l(b), but whether such venue properly exists is a conclusion
of law to which no response is reguired. To the extent that a
response is required, denies that 28 U.S.C. § 139l(b) is the proper
venue provision and states that 2 U.S.C. § 1404(2) is the proper
venue provision and admits that venue is properly invoked under
such provision.

6. Denies the allegation in Paragraph 6 that Plaintiff has
completed counseling and mediation through the Office of Compliance
as to all of the claims contained in the Amended Complaint.

7. As to the first sentence of paragraph 7, admits that
Plaintiff was a caseworker in the Office of Representative Meeks.
As to the second sentence of paragraph 7, upon information and
belief, admits that Plaintiff filed a complaint against Neville
Flowers and that Mr. Neville A. Flowers is married to Joan E.
Flowers, and further admits that Joan E. Flowers has been a

campaign supporter Of Representative Meeks. Lacks knowledge or

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information sufficient to form a belief as to the truth of the
remaining allegations in the second sentence of paragraph 7. The
third sentence of paragraph 7 states a legal conclusion to which no
response is reguired. To the extent that a response is reguired,
denies the allegations in the third sentence of paragraph 7.

8. Admits that Plaintiff was employed by the Office of
Representative Meeks as a caseworker from on or about March l998

until on or about October 23, 2000.

9. Denies.
lO. Denies.
ll. Lacks knowledge or information sufficient to form. a

belief as to the truth of the allegations in paragraph ll.

l2. Lacks knowledge or information sufficient to form a
belief as to the truth of the allegations in paragraph l2.

l3. Denies allegations in paragraph l3, except admits that,
(a) upon information and belief, Mr. Neville A. Flowers is married
to Joan E. Flowers, and (b) Joan E. Flowers has been a campaign
supporter of Representative Meeks.

l4. Lacks knowledge or information sufficient to form a
belief as to the truth of the allegations in paragraph l4.

l5. Lacks knowledge or information sufficient to fornl a
belief as to the truth of the allegations in paragraph l5.

l6. Admits that Plaintiff was on medical leave from on or

about February l4, 2000, until on or about July lO, 2000. Lacks

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knowledge or information sufficient to form a belief as to the
truth of the remaining allegations in paragraph l6.

l7. Lacks knowledge or information sufficient to form a
belief as to the truth of the allegations in paragraph l7.

l8. Admits.

l9. Denies.
20. Denies.
2l. Denies.
22. Denies.
23. On information and belief, admits that on or about

September 8, 2000, Plaintiff filed a Formal Request for Counseling
with the Office of Compliance in which she alleged that Defendant
Employing Office refused to pay her over time. Denies that her
complaint included allegations regarding travel.

24. On information and belief, admits that Plaintiff sent a
letter to the Committee on Standards of Official Conduct of the
United States House of Representatives dated October lO, 2000.
Denies the allegations of such letter as set forth in the second
sentence of paragraph 24.

25. Admits that Plaintiff’s employment was terminated on
October 23, 2000. On information and belief, admits that
Plaintiff’s letter‘ to the Committee on Standards of Official
Conduct of the United States House of Representatives was dated

October lO, 2000.

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26. Admits that Representative Meeks told Plaintiff that she
was not being terminated because of a problem with her work and
denies the remaining allegations in paragraph 26.

27. Denies.

28. Denies.

29. Repeats and realleges the answers set forth in paragraphs
l to 28 above.

30. Denies.

3l. Repeats and realleges the answers set forth in paragraphs
l to 28 above.

32. Denies.

The unnumbered "wherefore" paragraph after paragraph 53
contains Plaintiff's prayer for relief to which no response is
required.

DEFENSES
First Defense

This Court lacks jurisdiction over Plaintiff's claims to the
extent that Plaintiff has failed to exhaust her administrative
remedies under the Congressional Accountability Act of l995, 2
U.S.C. §§ l30l-l438 (l996) (“CAA”) on all or part of her claims.

S_e<:OH_dMW
Plaintiff fails to state a claim under the CAA upon which

relief can be granted.

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Third Defense
Defendant Employing Office did not unlawfully retaliate
against Plaintiff.
Fourth Defense
Actions taken Defendant Employing Office, its agents or
employees were motivated by legitimate, nondiscriminatory reasons
which were not pretextual.
Fifth Defense
Defendant Employing Office and its agents acted reasonably and
in good faith at all times based on all relevant facts and
circumstances known by them at the time they so acted.
Sixth Defense
The injuries and damages alleged by Plaintiff, to the extent
they exist, were not proximately caused or contributed to by any
negligence, wrongful act or omission of Defendant or any agent,
servant or employee thereof.
MBQS_@
Plaintiff's claims for recovery are barred to the extent that
she has failed to mitigate damages.
Eighth Defense
To the extent that Plaintiff attempts to plead an action
pursuant to Bivens v. Six Unknown Agents of Eederal Bureau of

Narcotics, 403 U.S. 388 (1971) against Defendant Employing Office,

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Plaintiff’s claim is barred, as her exclusive remedy is available
under the CAA.
Ninth Defense
To the extent that Plaintiff attempts to plead an action
pursuant to Bivens v. Six Unknown Agents of Eederal Bureau of
Narcotics, 403 U.S. 388 (1971) against Defendant Employing Office,
Plaintiff fails to state a claim upon which relief can be granted.
Tenth Defense
To the extent Plaintiff has received payment for any claimed
overtime or reimbursement of expenses, those claims are moot.

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Eleventh Defense
In the event Plaintiff recovers a verdict or judgment against
Defendant Employing Office, said verdict or judgment must be
reduced by those amounts that Plaintiff has been, or will be, with
reasonable certainty, reimbursed, indemnified, or paid from any
collateral source, including but not limited to insurance, Social
Security, Workers’ Compensation, Employee Benefit program,
unemployment benefits, and recovery in another forum for claim(s)
arising out of the same alleged facts.
Twelfth Defense
Pursuant to 2 U.S.C. § 1361(c), Plaintiff is not entitled to
punitive damages.
Thirteenth Defense
Plaintiff violated Section 416 of the CAA, 2 U.S.C. § 1416,
by unlawfully disclosing confidential settlement documents.
Fourteenth Defense
Pursuant to 29 U.S.C. § 213(a)(1), while employed by
Defendant, Plaintiff was exempt from the overtime requirements of
the Fair Labor Standards Act.

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WHEREFORE Defendant Employing Office demands judgment
dismissing Plaintiff’s complaint against it in its entirety,
awarding Defendant Employing Office its costs, fees and
disbursements and for such other relief as this Court may deem just
and proper.

Dated: Brooklyn, New York
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ROSLYNN R. MAUSKOPF

United States Attorney

Eastern District of New York

One Pierrepont Plaza, 14th Floor
Brooklyn, New York 11201

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SANDRA L. LEVY (SL- 9874)
Assistant United States Attorney
(718) 254-6014

 

Dated: Washington, D.C.
June 10, 2004

Office of House Employment Counsel
United States
House of Representatives
433 Cannon Building
Washington, D.C. 20515
(202) 225-7075

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KIMBERLY CAREY
GLORIA LETT FERGUSON (GF-7669)

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To: David N. Mair, Esq.

Kaiser, Saurborn & Mair, P.C.
20 Exchange Place

New York, NY 10005

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DECLARATION

GREGORY NELSON, hereby declares and states as
follows:

That on the 20th day of August - 2004
1 caused to deposit in the United States Mail in the office
of the United States Attorney, One Pierrepont Plaza,
Brooklyn, New York, the following documents(s):

STIPULATION OF CONSENT TO FILING OF AMENDED ANSWER

AMENDED ANSWER OF DEFENDANT EMPLOYING OFFICE OF
REPRESENTATIVE GREGORY W. MEEKS

of which the annexed is a true copy, contained in
a securely enclosed postpaid wrapper directed to the
person(s) at the place(s) and address(es) as follows:

David N. Mair

Kaiser, Saurborn & Mair, P.C.
20 Exchange Place

New York, NY 10005

Kimberly L. Carey Williams

Office of House Employment Counsel
United States House of Representative
433 Cannon Building

Washington, DC 20515

The undersigned affirms under penalty of perjury
that the foregoing is true and correct.

Dated: Brooklyn, New York

August 20, 2004
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